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                      Winitzh                                                                    e*%
                                               COMPASSIONATE
                                               CERTIFICATION CENTERS


Reg. No. 5,179,832             Syndiko's Investments LLC (DELAWARE LIMITED LIABILITY COMPANY)
                               27 Ann Street
Registered Apr. 11,2017 Pittsburgh, pa 15223
Int C\ • ^                     CLASS 35: Marketing services
         __    ,               FIRST USE 1-1-2016;IN COMMERCE 3-1-2016
Service Mark
                               The mark consists of a stylized flag with 11 stripes. The canton, or upper left corner of the
Principal Register             flag, includes a stylized marijuana leaf. To the right of the flag is the stacked wording
                               "COMPASSIONATE" and "CERTIFICATION CENTERS".

                               No claim is made to the exclusive right to use the following apart from the mark as shown:
                               "CERTIFICATION CENTERS"

                               SER. NO. 87-090,167, FILED 06-30-2016
                               PAULA M MAHONEY, EXAMINING ATTORNEY




Directorof the United States
Patent and Trademark Office
